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           Exhibit A
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                                                                                                                                       EXHIBITd




                                                                    TAPE      TRANSCRIPTION




                                                        PEOPLE                  JAMAL               TRUELOVE

                                                             STATEMENT         LATISHA          DICKERSON

                                                                    DATE         06/16/2008

                                               SAN    FRANCISCO          POLICE       CASE          NO     070    745    258




                                  INSP      JOHNSON          Okay             think       this       is    recording

                 10               SPEAKER                    When       the    red    lights              on   its      recording           Let


                 11   me       make    sure...yeah          its     good

                 12               INSP      JOHNSON          All    right        this          is    Inspector          Johnson        Im
                 13   with..


                 14               INSP      MCMILLAN         Inspector          McMillan              star       number       1700

                 15               OFFICER          HAGEN     And    Officer          Hagen           star number          1280

                 16               INSP      JOHNSON          And    were        at    the       homicide          detail        todays

                 17   June        16th       2008      it    is    20   minutes           to    nine       and   we     are    with...whats


                 18   your        name       maam
                 19               DICKERSON                  Latisha          Meadows          Dickerson

                 20               INSP      JOHNSON          Miss       what     do            call       you      Miss       Meadows       Miss

                 21   Di ckerson            or..


                 22               DICKERSON                  Mrs        Dickerson              Im married

                 23               INSP      JOHNSON          Mrs        Dickerson              okay

                 24               DICKERSON                  Yeah

                 25               INSP      JOHNSON          Uh          just    spoke          with      you         little     bit       you


                 26   have        some      information           regarding          an    incident            that     occurred      in    the




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                            Sunnydale              project         area    awhile          back    and     why      dont     you    just...start


                            tell        us   what        you      know    cause       we    really havent                 talked    about       it

                                        DICKERSON                    Okay        well        earlier          that    afternoon                would


                            say            lot     of    the      guys    were       drinking..


                                        INSP       JOHNSON           Okay        so    this       was...how      long      ago...whose     murder


                            are       we     talking         about

                                        DICKERSON                    Talking          about

                                        INSP       JOHNSON                             Thats

                                        DICKERSON                    Mm    hmrn


                       10               INSP       JOHNSON           Okay        but       everyone        calls      him


                       11               DICKERSON                                      Yeah

                       1z               INSP       JOHNSON           And       thats        rfcrring           tu    casa    numbcr       070    745


                       13   258       and     that       occurred         on    July 23rd           2007         Okay..


                       14               DICKERSON                    Uh                      my brothers             girlfriend           my

                       15   brothers girlfriends                         brother                    Favasa           he    was    outside            Uh

                       16   Kamal            his    brother         Truelove          and         few    other             few    other    people

                       17   were         outside

                       18                INSF      JOHNSON           Okay        so    youre         talking         about...which        street

                       19   would          this     be       on

                       20                DICKERSON                   This       is


                       21                INSP      JOHNSON           This       is    on


                       22                DICKERSON                   This       is    on                             and    this    is    the    only

                       23   parking           lot       on   the    richt       hand       side

                       24                INSP      JOHNSON           Thats           going    up     the      hill

                       25                DICKERSON                   Going       up    the    hill            And    all    day    the    guys       were

                       26   drinking               laughing          you       know        having       fun    then         would    say       about



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                        between           530     or    600             noticed          Jamal and                             arguing          so    they

                        start         screaming         in       my parking           lot..


                                    INSP      JOHNSON             Jamal        describe            Jamal       to       me
                                    DICKERSON                     Hes        uh...tall         slender         black           male um               bald


                        head              would       say    about       medium complexion                         uh        between        no       more

                        than        140       150

                                    INSP      JOHNSON             Okay        now    how       long     have        you        known       Jamal

                                    DICKERSON                     Uh          dont         know      him personally                         just       know

                        him through              the    people          that          live       with         my house               my brother              in


                   10   law         my brothers             girlfriends             brother          was      staying           with       us    and       he


                   11   hangs         around      all       of    them

                   12               INSP      JOHNSON             Okay        so...let      me     just...let           me     just    draw

                   13   little          map     here         This       would       be...this        would         be    uh...Santos            here       and

                   14   this        is...well         make       this                                    Okay            So     this       is    Santos

                   15               DICKERSON                     Mm    hmm

                   16               INSP      JOHNSON             And    then       the     parking           lot       is..



                   17               DICKERSON                     Okay        so    if     you     go    up    Santos            this       is       the


                   18   parking           lot    where            live        lets         say..


                   19               INSP      JOHNSON             Well        let    me...youre              going       up     Santos           up    the


                   20   hill

                   21               DICKERSON                     Up    the    hill           this      is


                   22               INSP      JOHNSON             Right

                   23               DICKERSON                     So    if    you     go    up           live       in       this     parking          lot

                   24               INSP      JOHNSON             Youre        in     the      first         parking           lot    on    the       left

                   25               DICKERSON                     On    the    lefthand              side          Im sorry                 First


                   26   parking           lot    on    the       left    hand       side           This       is    where        the       party



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                         started          during       the   afternoon            the    drinking              so   then    about       5iu
                         lets          say     between       500     and    600        give    or    take       oause      it    was    still


                         light         outside         the   argument           starts       here

                                     INSP      JOHNSON         Okay

                                     DICKERSON                 Now    my    window..


                                     INSP      JOHNSON         Here    being       right in          the       parking       lot

                                     DICKERSON                 Right       in    the    parking          lot

                                     INSP      JOHNSON         Mm    hmm

                                     DICKERSON                 My    window...is        diagonally             to   these       stairs right


                    10   here        where      the    fight    esoalated          all       the    way    across       the      street

                    11               INSP      JOHNSON         Okay        why    dont        you    put             there       so      know


                    12   winduw          caase     Ill       furget    about       this       latr        un

                    13               DICKERSON                 Okay        the    fight       starts       right here

                    14   then..                   is   angry    and    they both             are    yelling and            they       walk


                    15   across          the    street

                    16               INSP      JOHNSON         Okay        so    wheres        the       parking      lot       across       the


                    17   street

                    18               DICKERSON                 Right       here

                    19               INSP      JOHNSON         Where       the    arrow       is         Okay

                    20               DICKERSON                 Where       the    arrow       is         Right      here

                    21               INSP      JOHNSON         Uh    huh    okay

                    22               DICKERSON                 So    the    parking          lot    is    there      and        theres

                         lets          say      some     stairs or         so    right here              you    know       let     these      be


                    24   the        stairs and         the    fight    breaks          out    but    in    between         here       lets       say

                    25   maybe         the     street    corner       and       right here          an    altercation            breaks         out

                    26               INSP      JOHNSON         As    theyre        crossing..




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                                    DICKERSON                As    theyre crossing

                                    INSP       JOHNSON       Okay

                                    DICKERSON                Theres        an    altercation

                                    INSP       JOHNSON       Okay        now    who    are   we    talking          about    going

                          across

                                    DICKERSON                Um

                                    INSP       JOHNSON

                                    DICKERSON                Jamal

                                    INSP       JOHNSON       Jamal

                   10               DICKERSON                Uh     and    uh     lets

                   11               INSP       JOHNSON

                   12               DICKERSON

                   13               INSP       JOHNSON

                   14               DICKERSON                Yes         Hes...theyre            all    crossing       the    street

                   15     then      theres          like     few    people       already         hanging       out    here         dont

                   16     remember            for   sure

                   17               INSP       JOHNSON       Okay        you    mean when         you    say    by    the    stairs

                   18     theres          people       hanging     out

                   19               DICKERSON                By    the    stairs theres                   few       people    hanging

                   20     out     by    the     stairs

                   21               INSP       JOHNSON       Now    let    me    just      ask    you     do    you    know    where

                   22                   lived

                   23               DICKERSON                             lived       in   that    buildiiig          that    parking

                   24     lot           dont...Ive         never    been

                   25               INSP       MCMILLAN      Which       parking       lot       the    one    on    the    left   or   the


                   26     one     on    the     right



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                                        CKERSON                  The      parking           lot    on    the       right

                                   INSP     MCMILLAN             Right          okay

                                  DICKERSON                                     lived...I         dont        know       partioularly what

                         door     he     stayed       at      but    if    Im not            mistaken           its       like     the    third

                         door      on    the...doors          faoing       the        street           going       down    the     hll         He


                         stayed         there      with       his    girlfriend              and       she    has       like three        or    four


                         kids

                                   INSP      JOHNSON             Whats          her       name

                                   DICKERSON                     Uh            oant         think       of    it    off    the     top    of    my

                  10     head

                  11               INSP      JOHNSON             All      right

                  lL                    CKERSON                      know            Latin      lady         little       heavy     set

                  13               INSP      JOHNSON             Okay

                  14               DICKERSON                     Um       so    fight        breaks          out    somewhere           between

                  15     here      and      then         go     inside         my     house       to    the     baokdoor                oome    baok

                  16     out        And      then     everybodys                standing           here             see                  turn       to


                  17     walk      towards         the     end      of    the        parking       lot       and    then..


                  18               INSP      JOHNSON             The      end        of   the     parking          lot...lets       oall       this


                  19     parking         lot         where       you      live        and    parking          lot         where..


                  20               DICKERSON                     Okay          A..



                  21               INSP      MCMILLAN            And      then        parking          lot         is    where                  lives

                  22                    CKERSON                                 lives        in    parking          lot       so    if    these          are


                  23     the     stairs right                    ISeull         turns        and       walks       towards         forwards

                  24     towards         the    baok       of    the      parking           lot    faoing          the    ends     of    the


                  25     buildings             not    the       sides      faoing           the    street

                  26               INSP      JOHNSON             Right


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                                  DICKERSON                       So                 turns       to    walk    backwards          with       his


                      back        turned          and      then    Jamal       shoots       him in       the    back       of    the    head       and

                      he       falls        right there            at    the       base    of    the    stairs in          the    little


                      grassy area                     He     falls      down

                                  INSP       JOHNSON              Okay        so     so    what...what        was                 doing

                      before           this                mean        sort of       like        okay        were     arguing          and    then..


                                  DICKERSON                       Well        they were          arguing..


                                  INSP       JOHNSON              Did    you       see    the    actual       shooting

                                  DICKERSON                            saw    the    actual          shooting              saw    it          saw


                 10   it            saw      the      flash       from       the    gun          saw                   body       slump

                 11   lifelessly                 to   the     floor                already       knew    he    was    gone       from       the    way

                 12   that        Jamals hand went                      to    the    gun        from     you    know        pointed

                 13   directly              at    his      head        the    way    that       he    fell          just    knew       he    was


                 14   gone

                 15               INSP       JOHNSON              Okay        so    Jamal       shoots       him

                 16               DICKERSON                       Shoots       him yes

                 17               INSP       JOHNSON              And    he    falls       on    the    grassy       area

                 18               DICKERSON                       Falls       on    the    grassy area

                 19               INSP       JOHNSON              And    thats           between...where        is    that         The       grassy

                 20   area

                 21               DICKERSON                       The    grassy area             is    right next          to    the    stairs

                 22   Which         is      right       in    the..


                 23               INSP       JOHNSON              Okdy        so    youve        got    the    stieet..


                 24               DICKERSON                       You    got..


                 25               INSP       JOHNSON              Then       you    got    the       sidewalk..


                 26               DICKERSON                       Then       theres        the       stairs then           theres           the




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                        grass        area

                                   INSP      JOHNSON             Okay

                                   DICKERSON                     The      little        grass      area

                                   INSP      JOHNSON             All      right          Now       how     many       times       or...did     he


                        shoot        him once         or    how       did    that       go
                                   DICKERSON                     Uh...I     only       remember       seeing          one    shot              only

                        remember             hearing       one    shot

                                   INSP       JOHNSON            Oh    huh

                                   DICKERSON                     Eecause          by    then         shut       my door and             ran    in    my

                   10   house

                   11              INSP       JOHNSON            So    when       you    saw    the       shooting          and    you     saw      him

                   12   shoot        him

                   13              DICKERSON                     When         saw       him shoot          him...I     didnt         see      which

                   14   direction            he   went            just       seen                    fall       and    then         went       in    my

                   15   house         closed         the    door          went     upstairs          to    my      my...the       front       bedroom

                   16   thats         facing         the    street           opened       the      window          and      then    thats           when

                   17       noticed            uh...um..                     covering                        with           jacket       and

                   18   theres          people        screaming             and    thats        it

                   19              INSP       JOHNSON            Okay         So...youve           known...how         long       have     you

                   20   known...not           that    you    know         them personally                 but     youve          seen    this

                   21   fellow        Jamal

                   22              DICKERSON                     Yeah

                   23              INSP       JOHNSON            How      long     have      you     been..


                   24              DICKERSON                     Well             seen    them...in         and    out      of    like     the


                   25   parking         lot       area      you       know        just         few    times           because        Ive       lived

                   26   205                                 my    address          for    about       six       years       but    theres


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                         times where                      wasnt         staying             there           where            you      know             moved       out


                         of       there        and         had     like       my cousins                   or    somebody                 you     know       so    they

                         would          talk        about       thom        and    then          wo    would          see       thom but             me myself

                         as       far     as      me      and     my    husband             and       everybody                 we    dont           hang    out       and

                         so         never...hi             my name           is    Latisha                 nice       to     meet         you        Jamal        none

                         of       them         we    just..            knew       them                knew       of    them          by                Vowvasa

                         because             he     was    living           with       us    at       the       time       so    he       would       speak       on


                         them       and        you       know..


                                     INSP         JOHNSON              Okay        so       youre...as                as...so...Im             drawing

                    10   little           picture          here        of    same       kind          of    thing            this         is     Santos

                    11              DICKERSON                          Okay

                    12               INSP         JOHNSON              And    tho       parking             lot       goes       back          this    way

                    13   right

                    14              OICKERSON                          Yes

                    15               INSP         JOHNSON              Okay       so    this          would       be       the       PL        the    parking

                    16   lot         so      are     you     on    the       up    hill          side       or    the        down         hill       side

                    17              DICKERSON                          Im on the                 up    hill       side

                    18               INSP         JOHNSON              And    how       many           how       many        doors         in     would      you       be

                    19               OICKERSON                              am the          third door                in..



                    20               INSP         JOHNSON              So    it    would be                the    third...um...unit                  in     right

                    21   Okay           so     well        put     an          here          the       third unit


                    22               DICKERSON                         Yes

                    23               INSP         JOHNSON              And     when         you       saw       the    shouting                  where      wete       you


                    24   standing                   Or    where        were       you       at

                    25               DICKERSON                         In    front          of    my door

                    26               INSP         JOHNSON              Just       right          in    front          of     the      door


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                                     DICKERSON                 Right       in    front          of    the       door

                                     INSP      JOHNSON         And    you       could       look          aoross       the       street

                                     DICKERSON                 Look       aoross          the    street

                                     INSP      JOHNSON         And    where...do           you       remember          where       the       person

                          that       did      the   shooting        was    standing             when       he    did       the    shooting

                          where       he      was

                                     DICKERSON                 He    was    standing...um...theres                           little...right


                          at...I    would       say...on     the    third       or    fourth          stairs diagonal                   to    that


                          grassy area               you     know     he    oould          have..


                 10                  INSP      MCMILLAN        When       youre talking                    about       stairs           youre

                 11       talking           about     the    stairs that             lead       up    from the             parking       lot       up   to


                 12       the      bailding

                 13                  DICKERSON                 No     theres              some...theres                     uh...Im      sorry          not


                 14       stairs            theres           walkway       from                                   that       leads       up...you


                 15       know         to     the   units     that    are       faoing          Santos                mean        that       are


                     16   faoing        the     parking       1st

                 17                  INSP      MCMILLAN        Right        right

                     18              DICKERSON                 So    right there                is    where            see..


                 19                  INSP NCNILLAN             Which       is    above           it       would       be    at    the    top       of   the


                 20       stairs

                 21                  DICKERSON                 Would       be    like..


                 22                  INSP      MCMILLAN        That       come       from       the       parking          lot

                 23                  DICKERSON                      didnt mean              to       say    stairs           Im thinking                of


                 24       stairs            right      but    theres..

                 25                  INSP      JOHNSON         Im going              to    see       if         can    find       some..


                 26                  DICKERSON                 Theres           no    stairs          where...the           way    that       like...see




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                        this         this       is    the    street        imagine           this          being       the       street

                        corner...you            know        the     sidewalk          now...this            way..


                                    INSP      MCMILLAN            Here     why       dont         we       do    this..


                                    DICKERSON                     Okay

                                    INSP      NCMILLAN            Explain       to     Inspector                Johnson          when       he   comes


                        back        in     but       well        still    call       it     parking             lot          uh        where       you


                        live        over      here..


                                    DICKERSON                     Okay     okay

                                    INSP      MCMILLAN            Across     the       street          were           going       to    show       another

                   10   parking          lot     here

                   11               DICKERSON                     Right      Across          the       street          is    probably..


                   12               INSP      NCMILLAN            Okay     now       this        is    where...theres                       building

                   13   the       building           here    and     theres               building              down       here..


                   14               DICKERSON                     Right      now..


                   15               INSP      MCMILLAN            And    then     people          park          their       cars       in    here

                   16   parking          lot


                   17               DICKERSON                     Right

                   18               INSP      NCMILLAN            And    theres           stairs that                 go    up    from the

                   19   parking          lot     up    to    the     front      door        of    this          building          here

                   20               DICKERSON                     Right      now       as    Im thinking                    about       the      stairs

                   21   are       more     or    less       in    the    middle        but       theres                sidewalk              that

                   22   is...theres                  regular        sidewalk         and     then          theres           like            slab    of


                   23   coiiuiete          that       yuu    knuw        that     gues       up       to    th walkway                 to    this

                   24               INSP      MCMILLAN            Right      right                know          what       youre        talking

                   25   about

                   26               DICKERSON                     Right      so      that        is    where..




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 DISTRICT   ATTORNEY




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                                   INS MCMILLAN             Okay         gotcha

                                   DICKERSON                The        slab    of    sidewalk           so         was    thinking        it


                          was    stairs but          its    not

                                   INS MCMILLAN             Theres            concrete           lets        say         concrete


                          walking        pathway

                                   DICKERSON                 Yes        yes

                                   INS MCMILLAN              You       can    walk...from..


                                   DICKERSON                 From the          sidewalk

                                   INSP      MCMILLAN        To    in    front       of    the    building

                 10                DICKERSON                 To    in    front       of    the    building

                 11                INS NCMILLAN             And        then    theres            theres        an    open     area    that

                 12       is      an..



                 13                DICKERSON                      little       grass

                 14                 INS MCMILLAN             Where       youd        be    able    to    see       from..


                 15                DICKERSON                 My    front       door

                 16                 INS NCNILLAN             This        this             part    of    the    pathway        that    leads

                 17       down     there

                     18             DICKERSON                Right           right

                     19             INS NCNILLAN             And       correct       me    if    Im wrong           but     theres

                     20   grassy area here                 Im going           to    put         bunch    of    Xs        where     theres

                 21       grassy         area

                     22             DICKERSON                Theres                grassy area

                     23             INS MCMILLAN             And       theres        like         little       cane       right     here

                     24   like           cage        fenced       in    for    like       maybe    utilities              some     kind        of


                     25   utilities          thats     there

                 26                 DICKERSON                Om        yes    there       is      There       is          little     fenoed



                                                                                    12
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                      in       area

                                  INSP      NCMILLAN             Okay

                                 DICKERSON                       Now...now        what     made         lot    of       things           visible           was


                      the       faot     that       my house           front       window..


                                  INSP      MCNILLAN             It    was     dark        was    it    not          Was      it     dark

                                  DICKERSON                      Well        it    wasnt         that    dark            The        sun...I        would


                      say twilight                  it     was    about        twilight          and    then         you      know            my...my


                      house          the      light        is    right by          the     window       so         can     see       and       then

                      theres                parking         lot       right       there     so    everything             thats            there

                 10   theres                streetlight               and    then    theres            the    lights          from the             public

                 11   housing            so    everything              is    very     illuminated             so..



                 12               INSP      MCMILLAN             Right         right

                 13               INSP      JOHNSON              All    right        heres              picture          of     him covered                 on


                 14   the       ground         this        is         little       bit     later        of    course          its         darker           by

                 15   the       time     people          get     out    of     there

                 16               DICKERSON                      Okay

                 17               INSP      JOHNSON              Heres another               so    where       are       we        talking

                 18   about...is         this       where        Jamal       or    whoever        the    shooter           is       here..


                 19               DICKERSON                      Right       here        like          was    saying               the    fight

                 20   started            there        was       like...they        were     arguing          and     then          this       is    them


                 21   crossing           the    street           and                  is    right here             in    front           of    them        and


                 22   hes         going       towards           his    house       which     is     over      here       and        Jamal          is


                 23   behind         him and          he    shoots          him                     turns      around

                 24               INSP      JOHNSON              Okay       and    these     are       the    stairs you were


                 25   talking          about

                 26               DICKERSON                      Yeah        this     isnt...it         wasnt           stairs but                 the..




 KAMALA    HARRIS
 DISTRICT ATTORNSY




Confidential                   Protective   Order           UNOFFICAL TRANSCRIPT                                   CCSF TRULOVE_002133_SFDA
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                                    INSP     MCMILLAN         She    mentioned             stairs but             its       pathway

                        walkway

                                    DICKERSON                 Theres                walkway

                                    INSP     MCNILLAN           walkway

                                    INSP     JOHNSON            see       that           yeah         Okay    and    where       was    the


                        shooter           at

                                    DICKERSON                 The    shooter             was    right here

                                    INSP     JOHNSON          Im going              to    put         mark    there

                                    DICKERSON                 Yeah        the       shooter          was   about     right there

                   10               INSP     JOHNSON          Okay    why       dont           you    just    initial       the    baok       of


                   11   ths one

                   12               DICKERSuN                 ukdy

                   13               INSP     JOHNSON          All    right           So    who       else...who     else    saw    this       with

                   14   you

                   15               DICKERSON                 Uh     Im sure...you                  mean    the    actual    shooting

                   16   itself                 was    the    only    one       in    the       front       door but       my husband          was


                   17   in      the    house         my son was       in       the       house       but    they    didnt         you    know

                   16   they        didnt       see    all    the    commotion             until         after       said        Oh     my    God

                   19                   just    got    shot          So    as       far    as        you    know     witnessing          the


                   20   actual         act     from my house          or       anyone          in    front          was    the    only       one

                   21               INSP     JOHNSON          You    were       in       front

                   22               DICKERSON                   was       in    front

                                    INSP     JOHNSON          And    who       ls         you       mentiond        thR    nthRr       person

                   24   that        was      living    with    you        who       was    that

                   25               DICKERSON                 Oh                    Vowvasa

                   26               INSP     JOHNSON          And    where          was    he       at


 KAMALA      HARRIS
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                                  DICKERSON                     Uh       he    was     across         the      street

                                  INSP       JOHNSON            He    would         have       seen      it

                                  DICKERSON                     Yeah          he    would       have      seen       it     he    was       there

                                  INSP       JOHNSON            Okay       and      who    else       was      across       the       street       that

                        would        have     seen       it

                                  DICKERSON                     Oh            would       say...qosh             cant           think       of...um


                        what      is   the      other         guys    name          um...Stevie           Skeet             know       thats        his


                        nickname..


                                  INSP       JOHNSON            Stevie

                   10             DICKERSON                     Skeet...They           were         there       and       then    theres           just


                   11      few       other     people            Um...but          like         said            dont        associate             with

                   12   them      or    know       but     then...and         then..


                   13             INSP       JOHNSON            What       about..


                   14             DICKERSON                     ...and     then      Jamal          he    has    two       brothers but

                   15   dont         know     if     his      name    is      Truelove          for      sure    but             he    had

                   16   ponytail            than     thats       him

                   17             INSP       MCNILLAN                brother

                   18             DICKERSON                          brother           yeah          cause      it    was       two    brothers

                   19   outside        when        it    happened

                   20             INSP       JOHNSON            Okay

                   21             DICKERSON                     Now            dont        know       his      brothers          name       for    sure..


                   22             INSP       JOHNSON            Youre talking                   about         Jamal       and    his       two


                   23   brothers were                out      tliete

                   24             DICKERSON                     Yeah          his    two       brothers         were       out    there

                   25             INSP       JOHNSON            You      sure       both       of    them      were       there       or    was    only

                   26   one     of     them there



                                                                                          15
 KAMALA   HARRIS
 DISTRICT ATTDRNEY




                               Protective    Order            UNOFFICIAL TRANSCRIPT                                  CCSF_TRULOVE_0021             35    SFDA
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                                  DICKERSON                      Uh...I            remember           seeing          the    two       dudes        who


                         peopie        said       was    Jamals brothers                    so    I...I        remember          seeing       them

                         earlier now              thoy    could         have       been...when                         and       Jamal       was


                         walking        across          the    street               didnt         see          the    other       two        so..



                                  INSP       JOHNSON             Okay         so    what...this            started          in    the       parking

                         lot      the         parking          lot..


                                  DICKERSON                      Yeah         the          parking             lot

                                  INSP       JOHNSON             Where        you     kind       of       drew         picture          here            Cm

                         what     was       the    fight       about          do    you     remember

                    10            DICKERSON                      Uh           dont         remember             exactly          what       the     fight


                    11   was     about        all          remember           is    just     they          were...all             remember

                    12   heaLing        was        Yuu        was      supposed        tu    be       my       bruther           We    been       uut     here

                    13   all     day    kicking          it    and      now     you    want       to       trip       off    of       something           like

                    14   this     or    you       want    to        you    know        or    you          disrespecting                me    about        this


                    15   or..       But the         part       that                        out    the          most    to    me       was    the     fact


                    16   of                  saying           Nigga           we    brothers               you       know        we    been       out     here

                    17   all     day    kicking          it
                    18             INSP      JOHNSON             Now      whos        dong        this          yellng

                    19             DICKERSON                     This      is      Jamal     and

                    20             INSP      JOHNSON             Yeah         but     of    the       two       of    them..


                    21             DICKERSON                     Of     the     two        this       is


                    22             INSP      JOHNSON             Are      they      both     equally..

                                  DICKERSON                      Theyre both                equally             yelHng            theyre hrnther

                    24   equally        yelling            you      know..


                    25            DICKERSON                      They      say        Youre               my    brother                Whos         saying

                    26   that     part       of    it


  KAMALA   HARRIS                                                                      16
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                                  INSP      JOHNSON                      is    saying          that           You    know     we     aint

                      supposed           to    be   out    here     like      this        or    we     been     fuoking       with     eaoh

                      other        all      day     you    know      what      Im saying                 That        sort    of      that

                      sort        of    thing

                                  INSP      JOHNSON          Sure

                                  OICKERSON                  You    know       but..


                                  INSP      JOHNSON          But hr was         indioating              that        they    had     been


                      partying           all    day   they        been   together          all        day..


                                  DICKERSON                  All    day       exaotly           they been            together        all    day

                 10               INSP      JOHNSON          And    there      was       something            that    came     up    that


                 11   caused           some    kind   of..



                 12               DICKERSON                  To    where        saw       some        shoving        and...you      know

                 13   once        the    shoving      started            closed          my door

                 14               INSP      JOHNSON          When    you      say    you       saw     some     shoving            between

                 15   who

                 16               OIOKERSON                  Between                      and     Jamal

                 17               INSP      JOHNSON          So    theyre       kind       of     shoving           back    and     forth..


                 18               OIOKERSON                  Theyre        kind      of    shoving            back    and    forth         like


                 19   you       know        like    they     were    finna...like          they        actually         started


                 20   fighting

                 21               INSP      JOHNSON          Now                     pretty           big..


                 22               OIOKERSON                  Pretty      big        yeah

                                  INSP      JOHNSON          Pretty      big    guy       as          ieuall

                 24               DICKERSON                  Pretty      big    guy        uh     huh          He    was    pretty     big

                 25               INSP      JOHNSON          And    Jamal       was       he     as    big     as    him    or..



                 26               DICKERSON                  Urn    maybe      height          wise     but     definitely           not



                                                                                    17
 KAMALA    HARRIS
 DISTRICT ATTDRHEY




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                        width           you     know           dont         think          uh                 towered         over       Jamai


                        that        much        you     know           dont          see    that

                                     INSP      JOHNSON          Uh     huh       so    they       have      this     little        fight       or


                        this         argument           some    pushing          going       on       did    anybody         actually          take

                        you        know       full     swings        blows       or    anything            like    that

                                     DICKERSON                                  did                        did

                                     INSP      JOHNSON                          did

                                     DICKERSON                  Yeah             seen       him punch         him

                                     INSP      JOHNSON          Punch          who

                   10                DICKERSON                  Jamal

                   11                INSP      JOHNSON          Oh     he      hit    him

                   12                DICKERSON                  He     hit      him

                   13                INSP      JOHNSON          Where          did    he    hit    him             mean       in    the       face..


                   14                DICKERSON                  In     the      area       face       you    know      when          saw       that..


                   15                INSP      JOHNSON          Was       that         slap       or...was    that     a..




                   16                DICKERSON                  No        it    was         full      on    punch

                   17                INSP      JOHNSON          And       what       happened         to    Jamal      did     he    fall       down

                   18   or       did    he..



                   19                DICKERSON                  Oh..


                   20                INSP      JOHNSON          Or     slug      him       back

                   21                DICKERSON                       think       he    just        stumbled          you     know        by    that


                   22   time           once          saw   that      contact                shut      my    door..


                   23                INSP      JOHNSON          Okay

                   24                DICKERSON                       shut       my    door      and    then       Im going          upstairs

                   25   cause             still        want    to    be     nosey      but         dont       want     to     be    in    the


                   26   front           you     know       just      in     case      shooting...or          somebody         gets       something



 KAMALA      HARRIS
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                         50..



                                   INSP       JOHNSON       Sure

                                   DICKERSON                     go    upstairs          to    my front bedroom                   pull     open

                         the     shade         and   as   Im lifting              open    the    shade           Im seeing...I            see


                                      and      already     to    the    parking          lot

                                   INSE       JOHNSON       Now        is    he    walking       away       or    is    he    backino       up

                         or     whats         he   doing

                                   DICKERSON                Hes        walking       away

                                   INSP       JOHNSON       Hes        walking       away

                 10                DICKERSON                He    turns       and    walks       away       from       Jamal and          thats

                 11      when      the       shot...thats       when    he    shoots          him

                 12                INSP       JOHNSON       Now        does       Jamal       shoot    him       from...this        side    of


                 13      the     street            From the           side    of    the..


                 14                DICKERSON                No        shoots       him directly             from       behind       him

                 15                INSP       JOHNSON       So    hes        how    far       behind    him

                 16                DICKERSON                Hes        about        uh          would       say    maybe...less           than

                 17      seven      or    eight      feet

                 18                INSP       JOHNSON       Seven       eight       or    feet

                 19                DICKERSON                Yeah        behind

                 20                INSF       JOHNSON           And    did    he    say anything             before          he   shot     him

                 21                DICKERSON                     didnt        hear       anything                didnt        see


                 22      anything            by    that   time    Im in my house                 and    in       the    window

                                   INSP       JOHNSuN       So    he    shoots       him and          then       what    happens

                 24                DICKERSON                And       then    Seul            falls    to    the       ground       and


                 25      thats        all          see

                 26                INSP       JOHNSON       You       dont...you         close      your     window          or   what     do




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                      you       do    at     that       point

                                  DICKERSON                          flip     out          Oh    my    God                        just     got    shot

                           cant        believe           it      By    that...you          know        so         mean..


                                  INSP      MCMILLAN            So    youre         in     the       window                wasnt         really

                      sure...before                 thought          you     said      you      were       at    the       door

                                  DICKERSON                     No          was     at..



                                  INSP      NCMILLAN            The    front        door

                                  DICKERSON                     No          was     at     the       front       door       when     they      were

                      started..


                 10               INSP      MCMILLAN            When        they    started           to    fight

                 11               DICKERSON                     Right         right             So    then            go    upstairs        to    my

                 lz   fiont          window         iuayb       when          said       tlint        like            diwdys        ubed    the


                 13   term             can        see    this    from       my     front        door        but            wasnt         actually

                 14   standing              in    the    front       door...when         the     actual          shooting           happened

                 15   was       upstairs           in    my    front        window       which        is    diagonally               you    can    see


                 16   it       perfectly           here        you    know

                 17               INSP       NCM    LEAN        Gotcha

                 18               DICKERSON                     If    you     go    to     my house              look       out     my    window

                 19   you       can    see        what    Im talking about

                 20               INSP       JOHNSON            So    youre upstairs                   looking             out    your     window

                 21   and       you    see         and    how    do    you       know      its        Jamal       that       shot        him

                 22               DICKERSON                     Because          they      were       just...its            still        daylight

                 23   You       can    still        it

                 24               INSP       JOHNSON                 mean        did     you     see            gun    in    Jamals hand               or


                 25   how       do    you        know    that    it    was       Jamal       that      fired          the    shot

                 26               DICKERSON                     Well        because          Jamal         was    standing           behind       him



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                           and         saw             flash    and          saw                      hit     the       ground           and         heard    the


                           gunshot           so    it     was        shot            It    was         shot

                                      INSP        JOHNSON            When      you        say    you    saw             flash            how    do    you    mean

                           that

                                      DICKERSON                      Pop       you        know        like        a...you      know            You    ever...uh


                           uh...iit        like           little      fireoraoker                in    your        hand        or    something          and

                           then        you        know        you    dont           let    it    go    to     fast        and       it    just       kind    of


                           pops       in     your       hand        thats           what         saw

                                      INSP        JOHNSON            So     did      you    see         gun        in..



                      10              DICKERSON                           didnt           see         gun     in       Jamals hand                     just


                      11   heard       some..


                      12              INSP        JOHNSON            Did     he      have       his    arms        out       or     was    it    down

                      13   or...how        would        you...if     you     remember             if    you        dont           remember           thats

                      14   fine       too

                      15              DICKERSON                      It     was      too    guick           it     was       like...I      would       say    up

                      16   flash           back        down     so    it     wasnt          no    lingering                  you     know        like       boom

                      17   boom        you        know     what      Im saying                  all         seen        from...you         know        at    that

                      18   time       of     day        all         seen     was      just       like            hand        up     and         pop    and

                      19   thats           it     so       dont       know..


                      20              INSP        MCNILLAN           Well..


                      21              INSP        JOHNSON            At     the      time        at    the        time was           there       any

                      22   guestion             that      Jamal      did the          shooting          to        you     or      was     it...you     thought

                      23   maybe       somebody            else      did     it..



                      24              DICKERSON                      No     there         wasnt                  saw    it     and       thats        him

                      25   You      know          there       was    no..


                      26              INSP        JOHNSON            Okay           what     did he         do     after          the     shooting



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                                   DICKERSON                          dont     know        but        you    know         once          seen     the


                          flash      and                   hit    the    ground             immediately                ran    away      from     the


                          window       and     was    screaming          get    down        you       know                     just       got


                          shot       you      know     so..



                                   INSP       JOHNSON            Have    you    talked          to    anybody          else    out      there

                          that     saw       this...that      told      you    that       they       saw    it

                                   DICKERSON                     No     the    only       person       that       shared       information

                          uh...would         probably       be                 because          he    lived       in    our    house

                                    INSP      JOHNSON            Uh    huh

                     10            DICKERSON                     But as       far    as    anybody          out    there           anyone

                     11   dont       speak       to   them

                     12             INSP      JOHNSON            Whdt    did                    tell       yuu

                     13             DICKERSON                    He    came    in    the    house          and    said       you    know        that

                     14   nigga        he     died     he     got      shot    right       in    front       of    me          was      standing

                     15   right there            because              seen                 take       his    jacket          off    and    put     it


                     16   over     him        so..



                     17             INSP      JOHNSON            Uh    huh     did                    talk       about       Jamal        what     did

                     18   he    say

                     19             DICKERSON                    He    was    like    that       nigga       really          on...you     know      he


                     20   used      his      nickname         you      know

                     21             INSP      JOHNSON            Whats        his    nickname

                     22             DICKERSON

                                    INSP      JOHNSON            HIlly

                     24             DICKERSON                    Like    million but             with            little        you      know

                     25   HIlly      On        Thats        his       nickname

                 26                 INSP      JOHNSON            All    right        now    he...you        mentioned          something



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                      earlier           before        we   got    started        about...about           him being              on    TV    or


                      something

                                  DICKERSON                   Yeah

                                  INSP       JOHNNSON         What    was       the       story    with       that

                                  DICKERSON                   When         was       at    work         used      to    work         for         plaoe

                      down        on    avenues            its    oalled        Restaurant             Depot        one      of


                      oousins           was     there

                                  INSP       JOHNSON          Okay

                                  DICKERSON                   And    me    and       her    were       really olose               and      you

                 10   know          she      was     like     you    know        Latisha                          got      killed          by    your

                 11   house         and         was    like       Im sorry                yeah          saw    it       you       know           And

                 12   then        it    was          oouple      weeks     later                month    later         shes          like

                 13   Tish             you    aint seen             uh...you     know       that       Milly-On         on      the     Internet

                 14   hes...I          Love    New     York      website

                 15               INSP       JOHNSON          Now    whos        this       girl         This       is..



                 16               DICKERSON                   Um     damn        damn           whats       her     name             Its        one    of


                 17                       oousins             oant        think       of    her    name       off      top

                 18               INSP       JOHNSON                            oousins

                 19               DICKERSON                   Yeah    one       of                      oousins            we     used      to    work

                 20   together

                 21               INSP       JOHNSON          Okay

                 22               DICKERSON                       oant      think          of    her    name

                 23               INSP       JOHNSON          And    where       did       she    work      at

                 24               DICKERSON                   She    worked          at     uh     Restaurant              Depot

                 25               INSP       JOHNSON          Okay        where       is    that       at

                 26               DICKERSON                   Thats        on    Evans           its        its            whole        Seule..




                                                                                      23
 KAMALA    HARRIS
 DISTRICT ATTDRNEY




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                                   INSP      JOHNSON             Yeah           think              know      where       it    is..



                                   OICKERSON                     Its        like         Costoo          but..


                                   INSP      JOHNSON             Its           real      big place               yeah          And     what       did

                          she    do     there

                                   DICKERSON                     Uh          think       shes           like         front       end       manager       or


                          something           you     know        like         something            like       that        its        like             big

                          grooery        story       but    its        not     open      to     the      public         so..



                                    INSP     JOHNSON             Okay        okay

                                   DICKERSON                     But    uh      you      know           we   seen       each     other           you


                     10   know        the    next     day    at       work..


                     11             INSP     JOHNSON             Sure        and     you      were       working         there        at    the    time

                     12            DICKERSON                          was    wuiking          at    tha      tinla       and          was    like

                     13   You       know     thats         our    cousin           you     know         what         mean             And         was


                     14   like        Oh         didnt           know       that           You      know         she     came     to       work

                     15   could       tell     she    had    been       crying        and       stuff        and     you       know          knew

                     16   knew      that     they     were       related        some       how      because..


                     17             INSP     JOHNSON             Sure

                     18             DICKERSON                    Because        most       Samoans             you      know      cause            am


                     19   half      Samoan      so    most       of...you      know        so      we    kind      of    know     who       is    who

                     20             INSP     JOHNSON             Sure

                     21             DICKERSON                    So    anyway         so           month       later       she    was       like

                 22       You       know     that     nigga       Nilly-On            on      the       Internet               Hes         trying       out


                          for     the        Love     New    Ynrk       show       and     Im like               What             She       like

                     24   Yeah               Shes     like        Check         it    out
                 25                 INSP     JOHNSON             Whats         the    name         of    the     show

                 26                DICKERSON                          Love     New    York         Part      Two


 KAMALA    HARRIS
 DISTRICT ATTDRNEY




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                                  INSP       MCMILLAN            No             LOVE New           York

                                  DICKERSON                      Yeah             Love        New       York         Part       Two

                                  INSP       JOHNSON             Okay           and     whats           his    niokname

                                  DICKERSON                      His       nickname           is    MillyOn                Her     actual         words

                      was..


                                  INSP       JOHNSON             Milly...On..


                                  DICKERSON                      Like       Million but                 like       the    L-I-O-N            Like

                      instead           of    Million        like          we    would        say       it    would be          like     Millee

                      own

                 10               INSP       JOHNSON             Okay

                 11               DICKERSON                      So         uh...so      we       get    back       to     um          go    to    work

                 12   one       day         this     is      couple             months        after                       die         She    like

                 13   Tish...Tish            is    my nickname                  all     the       people       call       me    Tish     but      name    is


                 14   Latisha                So    she     was    like           Yeah             Tish        you    know       that     nigga      was


                 15   on       the          Love     New    York                And          was     like          What            And      she    was


                 16   like           Yeah          that     nigga          that       killed                              And         was     like

                 17   What             Are        you     serious                And     she       was       like        Yeah         check       out    the


                 18   website               blah        blah           So         didnt            have            computer        and      then    sure


                 19   enough            um        came     close       to       time     for       them       to    air    the     show      and    they

                 20   were        showing          snippets           of    people           who    were       going       to    be    on    there       and

                 21   he       was    on     there

                 22               INSP       JOHNSON             Okay

                 23               DICKERSON                      Jamal was              on    theie

                 24               INSP       JOHNSON             This       is    a..



                 25               DICKERSON                      This       is          VH1       Reality          Series

                 26               INSP       JOHNSON             Okay             dont            watch       VH1    too       much...so..




                                                                                             25
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                                   DICKERSON                                          So     its           VHl       reality          series          and

                       sure        enough           he    was       there       and    his        audition           tape        hes         talking          on


                       there        and      then        he    filmed       it        his     audtion               tape    in    the        Sunnydale

                       proj eots            so..



                                   INSP      JOHNSON                Okay         Near        where        the       murder happened                   or..



                                   DICKERSON                        This    was...to         me    it     looked          like    it

                                   INSP      JOHNSON                Okay    hut       it     was     in    Sunnydale             though

                                   DICKERSON                        Its     in       Sunnydale             you       oould       tell        its

                       Sunnydale

                  10               INSP      JOHNSON                All    right             All     right            Im going               to    read       you


                  11   some        stuff           Im going           to    show        you       some     piotures              okay

                  12               DiCKERSON                        Okay

                  13               INSP      JOHNSON                This    is         photographio                  lineup       instruotion

                  14   Because          the        polioe       agenoy          is    showing           you          group       of     photographs

                  15   this        should          not    influence             your        judgment           in    anyway           the       person        who

                  16   committed             the     orime          may    or    may        not    be     in    the       group       of


                  17   photographs                  you       are    in    no    way        obligated           to    identify             anyone

                  18   study         eaoh     photograph              oarefully              before        making          any    comments

                  19   oonsider             that     the       photographs                 oould    be     old       or    new        hairstyles

                  20   ohanges              persons           oan    alter       their        identity by                 growing          or     shaving

                  21   facial         hair persons                   can    gain       or     lose        weight           skin       color        can       be


                  22   lighter          or    darker           due    to    the       photographic                  process             Do      not


                  23   discuss          the        case       with    other          witnpsses            or    vrtims           nor       indirata           in


                  24   anyway         that         you    have...have           or    have        not     identified             any       photographs

                  25      Okay          Do    you        understand             that

                  26               DICKERSON                        Yes          do


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                                 INSP       JOHNSON            Can         get     your    signature          here      as         person

                      and      print        your       name    underneath           it        So    what     Ive       got    here    are       six


                      eight         and         half     by    11    photographs              color        photographs             young    men

                      you      can     look       at    them    individually               you      can     spread      them out           you

                      can      do    whatever           you    want    with        them       see     if    anybody          you    recognize

                      anybody          in       these

                                 DICKERSON                     Him

                                 INSP       JOHNSON            And    youre picking                 out..


                                 DICKERSON                     Number        six

                 10              INSP       JOHNSON            And    who     is    number         six

                 11              DICKERSON                     Thats         Jamal

                12               INSP       JOHNSON            Im sorry             thats          who

                 13              DICKERSON                     Thats         Jamal       with      hair

                 14              INSP       JOHNSON            Jamal       with     hair would              you    just      put    your

                 15   initials             on    that    one    please             Okay       and...if      you    could      put    down

                 16   here       number          six    Jamal       with     hair or whatever                     So   this    is    the


                 17   person..


                 18              INSP       NCMILLAN           Under       comments

                 19              DICKERSON                     Oh     oh..



                 20              INSP       JOHNSON            You    know       this     person           this    person      here       Jamal


                 21   is      the    person         were       talking        about       that      did     the    shooting

                 22              DICKERSON                     Yes           do

                 23              INSP       MCMILLAN           When    Jdmal         when       yuu     say...when      you    say    he     shut


                 24                    was       there    anybody          behind        Jamal      that     could      have       done    it    as


                 25   well           Youre shaking                  your     head        no

                 26              DICKERSON                          dont      think       so          cant        realiy...between           the



                                                                                     27
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                       cars           the    lighting                 and       just       the    commotion                 you    knew        most people

                       out       there       do    wear          dark       clothing             so         cant           really say          like     not


                       even        silhouette               is    coming             in    my mind that                   there    could       have     been


                       somebody             else       standing             there           you       know           so      would       say           would


                       say       no

                                   INSP      MCMILLAN                 Do    you       remember             what       Jamal       was    wearing        that

                       night            If    you       dont               you       dont        so..



                                   DICKERSON                          No             dont        remember                    dont        remember

                                   INSP      JOHNSON                  Okay           Im going              to    show       you    another           group    of


                  10   photographs                 this          is    one       sheet          with       six photographs                on    it

                  11   there          anybody          in    this...in           these          photographs                that    you    recognize

                  12               DICKERSON                               want       tu    say       this       guy       right hate          he     stands

                  13   out       to     me

                  14               INSP      JOHNSON                  Let       me    just       mark       them           theyre        not    marked

                  15   One         two       three           four           five           six

                  16               DICKERSON                          He    stands          out       to    me

                  17               INSP      JOHNSON                  Which          one    are       you       talking       about       now

                  18               DICKERSON                          This       one        number          six

                  19               INSP      JOHNSON                  Dh    huh

                  20               DICKERSON                          Um...uh...a         couple        months            prior    to    the    shooting

                  21   um        maybe       even            week          or    two        my husband                and    my son       and          were    in


                  22   Food        Co   and       we   were           in    line          with    Jamal          and       three    other       dudes        who

                       everybody             said       that          theyre              all    brothers                   dnnt        knnw    if     thyr
                  24   all       biologically                related             but       they       do    say       that    theyre           brothers

                  25   and       then       theres           like          this       short       kind          of    mixed looking             black

                  26   girl           um...theyre            all       checking             out       and       he...kind     of    leeks       like     one



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                           of    the    guys       that    was       there        theres           something          very       strong       about

                           his    face       that     makes      me...kind        of...put     them       two       together           now       could

                           be    wrong       but    there       is    something          about          number       six    that       puts     them

                           two    together

                                    INSP      JOHNSON            Okay        uh        but    you        youre        recalling          him     from..


                                   DICKERSON                     Somethinq             else

                                    INSP      JOHNSON            Something             else         Not        not    from       that    night

                                   DICKERSON                          think       he    was    there       in       the    parking       lot


                           beginning          when     the      party    started             but         dont        recall       seeing        him

                      10   later       on      But         think       so

                      11            INSP      JOHNSON            Okay        all       right        so    he    may       have    been       there

                      12   that    night

                      13            DICKERSON                    He    may    have       been       there       that       night        but..



                      14            INSP      JOHNSON            Okay

                      15            DICKERSON                    But    yeah           that    is       somebody          that    does       stand


                      16   out

                      17            INSP      JOHNSON            Okay        so         understand             one    of    the     motivations

                      18   youre providing                 us    information             to    the       police       is    that       you    want     to


                      19   leave       the    area        you    have         son        In    another          state        uh..



                      20            DICKERSON                    No     my dad          is    in    another          state

                      21            INSP      JOHNSON            Your    dads           in    another          state        but         thought

                      22   your     son      was    going       to    school       in    this       other       state

                      23            DICKERSON                    No     my son          gues       to    school       uut    here

                      24            INSP      JOHNSON            Okay             misunderstood you


                      25            DICKERSON                    No     my son          goes       to    school       out    here

                      26            INSP      JOHNSON            But    youre interested                       in    moving       to    the     other



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                       state         with      your       father

                                   DICKERSON                     Yes        yes

                                   INSP       JOHNSON            Is    there       anything             that        havent           oovered       that


                       you       think        might be          important          that       we    were       talking      about       here

                       Anything              else    that       oomes       to    mind       that..


                                   DICKERSON                     Well        the       only    other         thing     that      might       oomes


                       to      mnd        right now         is    the       faot       that        um...I    think     Jeffrey

                                                   murder       just       happened            couple          weeks     ago         about

                       month         or      two    ago    in    Sunnydalo               In    the       same      parking       lot         Has


                  10   something              to    do    with    Jamal          and    his    brothers            beoause       theres        an


                  11   ongoing              feud    between       the       Samoans          and    this       partioular            family

                  12               INSP       JOHNSON            Yuui            talking       abuut         whioh     partioulaL            family

                  13               DICKERSON                     Jamal       and       his    brothers..


                  14               INSP       JOHNSON            Jamals family and                       the    Samoans

                  15               DICKERSON                     And       the    Samoans

                  16                 NSP      JOHNSON            And       who    got    killed              Why    dont        we    just    talk

                  17   about         that      later       oause       thats           going       to    be...uh     not    really

                  18   connected              with       that    at    this       point        uh..



                  19               DICKERSON                     Okay        okay            Somewhere          down     the     line..


                  20               INSP       JOHNSON            Has                    been       living       there      for       guite    awhile

                  21   or      just..


                  22               DICKERSON                     Well                   havent           seen                         know    he


                  23   just        got       out    of    jail        so               hadnt        sn him living thr fnr
                  24   like           whole         year

                  25               INSP       JOHNSON            Okay        so    like...did           he   get   out     of    jail     recently

                  26   prior to             this     or


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                                   DICKERSON                think     he    did     and       think    he    got   out...I   dont

                        know        probabiy...probably        like    five       or    six months         prior give        or


                        take          Could be       longer    oould       be...but        dont      think    hed     been    home


                            year

                                   DICKERSON             Oh    he   hadnt         been    home        year

                                   INSP      JOHNSON     All   right        okay          Anything     else

                                   INSP      MCMILLAN    No

                                   DICKERSON              Okay      well      end      this   tape    at    this   point     in


                        time

                   10             END     OF DOCUMENT

                   11


                   12


                   13


                   14


                   15


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